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F|LED

UNITED STATES DISTRICT COURT

FEB 1 0 2005
DISTRICT OF SOUTH DAKOTA
WESTERN DIVISION §§
UNITED STATES OF AMERICA, ) CR 04-50131
Plaintiff §
vs. § VERDICT
JOHN WATERS. §
Det`endal it. §

Please retl rn your verdict by placing an "X" or a "1/'" in the space provided.

INvoLUNTARY MANSLAUGHTER
18 U.S.C. §§ 1112 and 1153

We, the j u ry in the above entitled and numbered case, as to the crime of involuntary
manslaughter, as :harged in Count 1 of the indictment, find John Waters:

g NOT GUILTY GUlLTY

INVOLUNTARY MANSLAUGHTER
18 U.S.C. §§ 1112 and 1153

We, ther ry in the above entitled and numbered case, as to the crime of involuntary
manslaughter, as charged in Count ll of the indictment, find John Waters:

X NOT GUlLTY GUILTY

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INVOLUNTARY MANSLAUGHTER
18 U.S.C. §§ 1112 and 1153

We, the j er in the above entitled and numbered case, as to the crime of involuntary
manslaughter, as charged in Count III of the indictment, find lohn Waters:

k NOT GUILTY GUILTY

    

ZZ/Lo 151 §

DATE FOREPERSON

